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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.                                          MEMORANDUM AND ORDER

YARA SUJEY MARTINEZ GARCIA,

                  Defendant.

      This matter is before the Court upon initial review of the pro se motion
to vacate under 28 U.S.C. § 2255 (filing 543) filed by the defendant, Yara
Sujey Martinez Garcia. The Court's initial review is governed by Rule 4(b) of
the Rules Governing Section 2255 Proceedings for the United States District
Courts, which provides:

      The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the
      record of prior proceedings that the moving party is not entitled
      to relief, the judge must dismiss the motion and direct the clerk
      to notify the moving party. If the motion is not dismissed, the
      judge must order the United States attorney to file an answer,
      motion, or other response within a fixed time, or to take other
      action the judge may order.

       A § 2255 movant is entitled to an evidentiary hearing unless the motion
and the files and records of the case conclusively show that the movant is
entitled to no relief. § 2255(b); Sinisterra v. United States, 600 F.3d 900, 906
(8th Cir. 2010). Accordingly, a motion to vacate under § 2255 may be
summarily dismissed without a hearing if (1) the movant's allegations,
accepted as true, would not entitle the movant to relief, or (2) the allegations
cannot be accepted as true because they are contradicted by the record,
inherently incredible, or conclusions rather than statements of fact. Engelen
v. United States, 68 F.3d 238, 240 (8th Cir. 1995); see also Sinisterra, 600
F.3d at 906.
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                                 BACKGROUND
      The defendant was convicted, pursuant to a guilty plea, of conspiracy to
distribute methamphetamine in violation of 21 U.S.C. § 846. The presentence
report found that the defendant was a minor participant in the offense,
warranting a 2-level reduction in her offense level. Filing 260 at 8. Based on
the presentence report, the Court found that the defendant's applicable
sentencing range under the Sentencing Guidelines was 121 to 151 months,
but varied downward on the defendant's motion and imposed a sentence of
120 months' imprisonment. Filing 262 at 1; filing 263 at 1, 3. The defendant
moves to vacate that sentence pursuant to § 2255, contending that she was "a
minor role in this case." Filing 543.

                                DISCUSSION
       The defendant's sole argument is that she should receive a reduction in
her offense level pursuant to U.S.S.G. § 3B2.1, based on her allegedly minor
participation in the offense. Filing 543. Her argument is premised on
U.S.S.G. Amend. 794: that amendment, which was effective on November 1,
2015, made no change to the text of § 3B1.2. Instead, it made changes and
additions to the commentary to § 3B1.2, to provide additional guidance to
courts in determining whether a mitigating role adjustment applies. And
Amendment 794 was not made retroactive to defendants who had already
been sentenced. See, 18 U.S.C. § 3582(c)(2); U.S.S.G. § 1B1.10(d); see also
United States v. Hernandez, 18 F.3d 601, 602 (8th Cir. 1994).
       The defendant's argument for vacating her sentence based on
Amendment 794 is without merit, for several reasons. First, the defendant's
motion is untimely. A § 2255 motion must be filed within 1 year from the
latest of

      (1) the date on which the judgment of conviction becomes final;
      (2) the date on which the impediment to making a motion created
      by governmental action in violation of the Constitution or laws of
      the United States is removed, if the movant was prevented from
      making a motion by such governmental action;
      (3) the date on which the right asserted was initially recognized
      by the Supreme Court, if that right has been newly recognized by
      the Supreme Court and made retroactively applicable to cases on
      collateral review; or
      (4) the date on which the facts supporting the claim or claims
      presented could have been discovered through the exercise of due
      diligence.



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§ 2255(f). Judgment was entered in this case on May 12, 2014, see filing 262,
and became final when the time for taking an appeal ran: far more than 1
year before her October 31, 2016 motion, see filing 543. And none of the other
provisions for accrual, set forth in § 2255(f)(2)-(4), can be found here.
      Second, Amendment 794 is not applicable to the defendant, who had
already been sentenced well before Amendment 794 became effective. The
defendant cites United States v. Quintero-Leyva, 823 F.3d 519, 522-23 (9th
Cir. 2016), in which the Ninth Circuit recently held that Amendment 794
applies retroactively to cases on direct appeal. Filing 543 at 1. But this case is
not on direct appeal, nor was it on appeal on November 1, 2015. Furthermore,
while the Ninth Circuit applies a "clarifying" amendment to the Sentencing
Guidelines retroactively to cases on direct appeal, the Eighth Circuit has
rejected that view, holding that only amendments enumerated in § 1B1.10
are to be applied retroactively, even if appellate review has not concluded.
United States v. Dowty, 996 F.2d 937, 938 (8th Cir. 1993) (citing United
States v. Caceda, 990 F.2d 707, 710 (2d Cir. 1993)); see United States v.
Williams, 905 F.2d 217, 218 (8th Cir. 1990).
      Third, the defendant actually received a role adjustment at sentencing
for being a minor participant. So, even if Amendment 794 was somehow
applicable to the defendant, it would not have affected her.
      Fourth, even if the defendant had some plausible argument for
sentencing error, that argument would not be cognizable under § 2255. The
Eighth Circuit has explained that

      Section 2255 was intended to afford federal prisoners a remedy
      identical in scope to federal habeas corpus. Like habeas corpus,
      this remedy does not encompass all claimed errors in conviction
      and sentencing. It provides a remedy for jurisdictional and
      constitutional errors, neither of which is at issue here. Beyond
      that, the permissible scope of a § 2255 collateral attack on a final
      conviction or sentence is severely limited; an error of law does not
      provide a basis for collateral attack unless the claimed error
      constituted a fundamental defect which inherently results in a
      complete miscarriage of justice.

Sun Bear v. United States, 644 F.3d 700, 704 (8th Cir. 2011) (en banc)
(citations and quotations omitted). And, the Court of Appeals said, ordinary
questions of Guidelines interpretation falling short of the "miscarriage of
justice" standard do not present a proper § 2255 claim, and may not be re-
litigated under § 2255. Sun Bear, 644 F.3d at 704. In sentencing, a
"miscarriage of justice" is cognizable under § 2255 when the sentence is in


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excess of that authorized by law, i.e., imposed without, or in excess of,
statutory authority. Sun Bear, 644 F.3d at 705-06. In other words, the Eighth
Circuit has concluded that a sentence that is within the statutory range
cannot be challenged, pursuant to § 2255, on the basis of alleged Guidelines
error. See Sun Bear, 644 F.3d at 706. Accordingly, even if the defendant had a
plausible claim that Amendment 794 changed the law applicable to her in a
way that supported an additional role adjustment, that claim would not
establish a right to relief pursuant to § 2255.
       And finally, the defendant was convicted of conspiracy to distribute 500
grams or more of a mixture or substance containing a detectable amount of
methamphetamine, which carries a 10-year mandatory minimum sentence.
21 U.S.C. § 841(b)(1)(A)(viii). The defendant was sentenced to the mandatory
minimum. Filing 262 at 2. Amendment 794 does not authorize the Court to
impose a sentence below the statutory mandatory minimum. See, United
States v. Theeler, 633 F. App'x 358, 359 (8th Cir. 2016); United States v.
McGuire, 524 F.3d 891, 892 (8th Cir. 2008); United States v. Peters, 524 F.3d
905, 907 (8th Cir. 2008).

                                  CONCLUSION
       The defendant's allegations entitle her to no relief. Accordingly, her §
2255 motion will be summarily dismissed.
       A movant cannot appeal an adverse ruling on her § 2255 motion unless
she is granted a certificate of appealability. 28 U.S.C. § 2253(c)(1); Fed. R.
App. P. 22(b)(1). A certificate of appealability cannot be granted unless the
movant "has made a substantial showing of the denial of a constitutional
right." 28 U.S.C. § 2253(c)(2). To make such a showing, the movant must
demonstrate that reasonable jurists would find the Court's assessment of the
constitutional claims debatable or wrong. Tennard v. Dretke, 542 U.S. 274,
282 (2004); see also Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012).
       In this case, the defendant has failed to make a substantial showing of
any cognizable § 2255 claim. The Court is not persuaded that the issues
raised are debatable among reasonable jurists, that a Court could resolve the
issues differently, or that the issues deserve further proceedings. Accordingly,
the Court will not issue a certificate of appealability.

      IT IS ORDERED:

      1.    The defendant's pro se motion to vacate under 28 U.S.C. §
            2255 (filing 543) is denied.




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      2.   The Court will not issue a certificate of appealability in this
           matter.

      3.   A separate judgment will be entered.

      4.   The Clerk is directed to mail a copy of this Memorandum
           and Order to the defendant at her last known address.

      Dated this 2nd day of November, 2016.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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